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 7 United States of America
 8
 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00010 MCE
12
                                  Plaintiff,             STIPULATION AND ORDER TO CONTINUE
13                                                       STATUS CONFERENCE, AND TO EXCLUDE
                            v.                           TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND                                  DATE: March 30, 2017
15   STARSHEKA MIXON,                                    TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
16                                Defendants.

17
18                                               STIPULATION

19         1.       By previous order, this matter was set for status on March 30, 2017.

20         2.       By this stipulation, defendants now move to continue the status conference until May 11,

21 2017, and to exclude time between March 30, 2017, and May 11, 2017, under Local Code T4.
22         3.       The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has produced over 25,000 pages of discovery associated with this

24         case, including tax returns, bank and credit card statements, investigative reports, and other

25         documents. The government has also made electronic devices and physical evidence available

26         for review.

27                  b)     Counsel for the defendants need additional time to meet with their respective

28         clients in order to discuss the evidence and a potential resolution.


      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
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 1                c)      Counsel for defendants believe that failure to grant the above-requested

 2        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3        into account the exercise of due diligence.

 4                d)      The government does not object to the continuance.

 5                e)      Based on the above-stated findings, the ends of justice served by continuing the

 6        case as requested outweigh the interest of the public and the defendant in a trial within the

 7        original date prescribed by the Speedy Trial Act.

 8                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9        et seq., within which trial must commence, the time period of March 30, 2017, to May 11, 2017,

10        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4,

11        because it results from a continuance granted by the Court at defendants’ request on the basis of

12        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13        of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: March 28, 2017                                     PHILLIP A. TALBERT
 6                                                             United States Attorney
 7
                                                               /s/ SHELLEY D. WEGER
 8                                                             SHELLEY D. WEGER
                                                               Assistant United States Attorney
 9

10 Dated: March 28, 2017                                       /s/ Kelly Babineau by Shelley D. Weger
                                                               KELLY BABINEAU
11
                                                               Counsel for Defendant
12                                                             Starsheka Mixon

13
     Dated: March 28, 2017                                     /s/ Matthew Bockmon by Shelley D. Weger
14                                                             MATTHEW BOCKMON
                                                               Counsel for Defendant
15                                                             Denna Chambers
16
17
                                                       ORDER
18
            IT IS SO ORDERED.
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     Dated: March 29, 2017
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
